Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 1 of 16 PagelD 26

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Case 16-2022-CA-000436-XXXX-MA

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Department | Circuit Civil | Division | CV-D |
Case Status | OPEN | File Date 1/26/2022 12:36:08 PM
Judge Name | NORTON, VIRGINIA B, | Officer
Private Attorney | Shamis, Andrew John | |
Partles
Party Type
Name / DOB/ DL/ ID # Race / Sex Address
NICOLE MONTROSE PLAINTIFF 14 NE 1ST AVE, STE. 705
/ MIAMI, FL33132
DEFENDANT 1209 ORANGE ST
Eola ia INC. /B WILMINGTON, DE19801
NICOLE MONTROSE, ON BEHALF OF ALL OTHER SIMILARY SITUATED a ee
Attorneys
Attorney Address | For Parties |
Shamis, Andrew John 14 NE ist Ave Ste 705
Private Attorney (101754) Miami, FL33132-2411 | NIGOLEIMONTROSE(GEAINTIGE) |
'
Fees
~ j
Date | Description Assessed Paid Balance |
01/26/2022 | SUMMONS($10/ea) 6/17/2017 $10.00 $10.00 $0.00 |
01/26/2022 CIR/GENERALCIVIL 7/1/2019 $401.00 $401.00 $0.00 |
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16-2022-CA-000436-XXXX-MA Div: CV-D

Filing # 142687065 E-Filed 01/26/2022 12:36:08 PM

IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLORIDA

 

CASE NO.
NICOLE MONTROSE, individually and on behalf of CLASS ACTION
all others similarly situated,
Plaintiff, JURY TRIAL DEMANDED
Vs.
FANATICS, INC.,
Defendant.
/
SUMMONS
THE STATE OF FLORIDA:

To Each Sheriff/Certified Process Server of the State:

YOU ARE COMMANDED to serve this summons and a copy of the Complaint, in this
action on Defendant:

Fanatics, Inc.

c/o The Corporation Trust Company- Registered Agent
1209 Orange St

Wilmington, DE 19801

Each Defendant is required to serve written defenses to the Complaint or petition on:
Andrew Shamis, Esq, Shamis & Gentile, P.A., 14 NE 1st Ave STE 705, Miami, Florida
33132, within twenty (20) days after service of this summons on that Defendant, exclusive of
the date of service, and to file the original of the defenses with the Clerk of this Court either
before service on Plaintiffs attorney or immediately thereafter. If a Defendant fails to do so, a
default will be entered against that Defendant for the relief demanded in the complaint or
petition.

Dated this day o¢ Yan 26 2022

 

Jody Phillips
As Clerk of the Court

By:C hvistima bent
As Deputy Clerk

 

ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 01/26/2022 02:04:22 PM
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 5 of 16 PagelD 30
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 6 of 16 PagelD 31
16-2022-CA-000436-XXXX-MA Div: CV-D

Filing # 142687065 E-Filed 01/26/2022 12:36:08 PM

FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing
and service of pleadings or other documents as required by law. This form must be filed by the
plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
to section 25.075, Florida Statutes. (See instructions for completion.)

 

I. CASE STYLE

IN THE CIRCUIT/COUNTY COURT OF THE FOURTH JUDICIAL CIRCUIT,
IN AND FOR DUVAL COUNTY, FLORIDA

Nicole Montrose

 

Plaintiff Case #
Judge
VS.
Fanatics, Inc.
Defendant

 

II. AMOUNT OF CLAIM
Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
the claim is requested for data collection and clerical processing purposes only. The amount of the claim
shali not be used for any other purpose.

LC] $8,000 or less

CL) $8,001 - $30,000
L] $30,001- $50,000
OH $50,001- $75,000
CX $75,001 - $100,000
over $100,000.00

I. TYPE OF CASE (If the case fits more than one type of case, select the most

definitive category.) If the most descriptive label is a subcategory (is indented under a broader
category), place an x on both the main category and subcategory lines.

ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 01/26/2022 02:04:22 PM
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22

CIRCUIT CIVIL

0 Condominium
C Contracts and indebtedness
O Eminent domain
O Auto negligence
0 Negligence—other
2 Business governance
© Business torts
0 Environmental/Toxic tort
0 Third party indemnification
O Construction defect
O Mass tort
O Negligent security
O Nursing home negligence
OC Premises liabiltty—commercial
O Premises liability—residential
O Products liability
2 Real Property/Mortgage foreclosure
© Commercial foreclosure
O Homestead residential foreclosure
O Non-homestead residential foreclosure
O Other real property actions

L]Professional malpractice
O Malpractice—business
0 Malpractice—medical
O Malpractice—other professional
Other
0 Antitrust/Trade regulation
OC Business transactions
CO Constitutional challenge—statute or ordinance
O Constitutional challenge—proposed amendment
0 Corporate trusts
O Discrimination—employment or other
O Insurance claims
OC Intellectual property
OC Libel/Slander
O Shareholder derivative action
0 Securities litigation
0 Trade secrets
O Trust litigation

COUNTY CIVIL

CO Small Claims up to $8,000
0) Civil
LC Real property/Mortgage foreclosure

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Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 8 of 16 PagelD 33

OC Replevins
LJ Evictions

C1 Residential Evictions

L] Non-residential Evictions
L) Other civil (non-monetary)

COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes L] No &l

TV. REMEDIES SOUGHT (check all that apply):
Monetary;

Nonmonetary declaratory or injunctive relief;

O Punitive

V. NUMBER OF CAUSES OF ACTION: [ ]

(Specify)
3
VI. IS THIS CASE A CLASS ACTION LAWSUIT?
yes
Ono

VII. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
no
0 yes If “yes,” list all related cases by name, case number, and court.

VOI. IS JURY TRIAL DEMANDED IN COMPLAINT?
yes
C1 no

1 CERTIFY that the information I have provided in this cover sheet is accurate to the best of
my knowledge and belief, and that I have read and will comply with the requirements of
Florida Rule of Judicial Administration 2.425.

 

 

Signature: s/ Angelica Gentile Gentile Fla. Bar # 102630
Attomey or party (Bar # if attorney)
Angelica Gentile Gentile 01/26/2022
(type or print name) Date
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 9 of 16 PagelD 34
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IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLORIDA

NICOLE MONTROSE, on behalf of
herself and all others similarly situated,

Plaintiff,
Vv. CASE NO.: 2022-CA-000436

FANATICS, INC.,

Defendant.

 

DEFENDANT FANATICS, INC.’S UNOPPOSED MOTION FOR EXTENSION OF
TIME TO RESPOND TO COMPLAINT

Defendant, Fanatics, Inc (“Fanatics”), hereby moves for an unopposed thirty (30) day
extension of time to file a response to the Complaint in this matter and states:

1. This action is styled a Class Action Complaint, and was filed on January 26,
2022. Defendant Fanatics accepts and agrees that service of the Complaint was made on
January 28, 2022.

2. This is the first extension request by Defendant, Fanatics. Fanatics and its
undersigned counsel require additional time to review the Complaint, investigate its allegations
and draft the appropriate response to said Complaint.

3, Undersigned counsel for Fanatics have conferred with counsel for Plaintiff, who
has NO OBJECTION to the extension and therefore this Motion is Unopposed; counsel for
Fanatics has provided the attached proposed Agreed Order to Plaintiff's counsel, who agrees
with the language of the Order.

4. Based on the above good cause shown, Defendant Fanatics hereby requests an
unopposed thirty (30) day extension of time within which Fanatics is to respond to the

Complaint, thereby bringing the due date for a response through and including March 21, 2022.

Greenberg Traurig, P.A. Ml 101 E. College Avenue @ Tallahassee, Florida 32301 MM Tel 850-222-6891 Ml Fax 850-521-1379 M www.gtlaw.com
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CASE No. 2022-CA-000436

WHEREFORE, Defendants respectfully request that this Court enter an Agreed Order

granting an extension of time to file a responsive pleading to the Complaint through and

including March 21, 2022.

Respectfully submitted,

GREENBERG TRAURIG, P.A.
101 East College Avenue

Post Office Drawer 1838
Tallahassee, Florida 32302

Phone: (850) 222-6891

Fax: (850) 681-0207

Primary: BielbyL@gtlaw.com
Secondary: HoffmannM@gtlaw.com

/s/ Lorence J. Bielby
Lorence J. Bielby, Esq.
Fla. Bar No. 0393517

and

Mark F. Bideau, Esq.

Florida Bar No. 564044
GREENBERG TRAURIG, P.A.
777 S Flagler Drive, Suite 300 East
West Palm Beach FL 33401
Telephone: (561) 650-7900

Fax: (561) 561-6222

Primary: BideauM@gtlaw.com
Secondary: ThomasD@gtlaw.com

and

Stephanie Peral, Esq.

Florida Bar No. 119324
GREENBERG TRAURIG, P.A.
333 S.E. 2nd Avenue Suite 4400
Miami FL 3313]

Telephone: (305) 579-0500

Fax: (305) 579-0717

Primary: PeralS@gtlaw.com
Secondary: CollazoE@gtlaw.com

Counsel for Defendant
Fanatics, Inc.

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Greenberg Traurig, P.A. @ 101. College Avenue @ Tallahassee, Florida 32301 @ Tel 850-222-6891 MM Fax 850-521-1379 M@ www.gtlaw.com
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 12 of 16 PagelD 37

CASE No. 2022-CA-000436

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 17" day of February, 2022, a true and correct copy of
the foregoing was filed electronically with the Clerk of the Court using the Florida Courts
eFiling Portal, which will send notice of electronic filing to the following:

Andrew J. Shamis, Esq.
Florida Bar No. 101754
Edwin E. Elliott, Esq.

Florida Bar No. 1024900
SHAMIS & GENTILE, P.A.
14 NE Ist Avenue, Suite 705
Miami, Florida 33132

(t) (305) 479-2299
ashamis@shamisgentile.com
edwine@shamisgentile.com

and

Jeffrey D. Kaliel

Sophia Goren Gold
KALIELGOLD PLLC

1100 15" Street NW, 4" Floor
Washington, D.C. 20005

Tel: (202) 350-4783
jkaliel@kalielplic.com
sgold@kalielgold.com

Counsel for Plaintiff and Proposed Class

s/ Lorence J. Bielby
LORENCE J. BIELBY

ADMIN 62714165v1

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Greenberg Traurig, P.A, ™ 101 £. College Avenue ™ Tallahassee, Florida 32301 @ Tel 850-222-6891 @ Fax 850-521-1379 ™@ www.gtlaw.com
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 13 of 16 PagelD 38
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IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLORIDA

NICOLE MONTROSE, on behalf of
herself and all others similarly situated,

Plaintiff,
V. CASE NO.: 2022-CA-000436

FANATICS, INC.,

Defendant.

AGREED ORDER ON DEFENDANT’S MOTION FOR EXTENSION OF
TIME TO RESPOND TO COMPLAINT

THIS CAUSE having come before the Court on Defendant, Fanatics, Inc., Motion for
Extension of Time to Respond to Plaintiff's Complaint and the Court having reviewed the
Motion and being otherwise duly advised in the premises thereof, it is:

ORDERED AND ADJUDGED that Defendant, Fanatics, Inc., Motion is hereby
GRANTED and they shall have up and to including March 21, 2022 to file a response to
Plaintiff’s Complaint.

DONE AND ORDERED in Jacksonville, Duval County, Florida on Tuesday, February

22, 2022.
Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 15 of 16 PagelD 40

   

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Virgini ton, Judge
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Case 3:22-cv-00219-TJC-LLL Document 1-4 Filed 02/25/22 Page 16 of 16 PagelD 41

Andrew John Shamis
14 NE Ist Ave Ste 705
Miami, FL 33132-2411

FANATICS, INC.
1209 ORANGE ST WILMINGTON, DE 19801

Angelica Gentile Gentile
efilings @shamisgentile.com

Lorence Jon Bielby
bielbyl @ gtlaw.com
Hoffmannm@ gtlaw.com
FLService@ gtlaw.com

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